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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


UNITED STATES Of AMERICA                                Hon. Cathy L. Waldor

               v.                                       Mag. No. 13- 7255 (CL W)

BRETf STROTHERS.
EV AN STROTHERS.                                        Continuance Order
JOSEPH CUOZZO,
and HARESH AILDASANI

               This matter having been opened tu the Court by Paul J. Fishman, United States
Attorney for the District of New Jersey (Josh l lafctz.. Assistant United States Attorney,
appearing). and the Defendant Evun Strothers (Phillip Steinberg. appearing) tbr an order granting
a continuance of the proceedings in the ubovc-captioncd mutter to allow the parties to conduct
plea negotiations and eight prior continuances having been entered by the Court pursuant to Title
 18. United Stales Code. Section 3161 (h)(7)(A). so that the parties can attempt to resolve the
 matter and thereby avoid a possible trial. and the detendant being aware that he has the right to
 have the matter submitted to a grand jury within thirty days of the dale of his arrest pursua11t to
 18 U.S.C. § 316l(b), and the detendant having consented to the continuance and waived such
 right, and for good and sufficient cause shown.
                 IT IS Tl-IE FINDING OF THIS COURT that this action should be continued for

 the following reasons:
                I.      Plea negotiations currently ure in progress. and both the United Stales and
                        the Detendant seek additional time to uchie\'c successful resolution of
                        these negotiations. which would render trial of this matter unnecessary.
                 2.      Defendant has consented to the al(lrcmentioned continuance.
                 3.     The grunt of a continuance will likely cunservc judicial resources.
                 4.      Pursunnt to Title 18 of the United States Code. Section 316 l(h)(7)(A). the
                         ends of justice served hy grunting the continuance outweigh the best
                         interests or the public umt 1hc Delcndunt in u speedy trial.
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